Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 1 of 13




                                      U ITED STA TES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-20296-CR-MARTINEZ/BECERRA


    U ITED ST A TES OF AMERICA

    vs.

    JOSHUA DA YID NICHOLAS,

                         Defendant.
    _________________/
                                               PLEA AGREEMENT

             The United States of America, by and throug h the Fraud Secti o n of th e Criminal Di vis io n

    of the Departm ent of Ju st ice, and the United States Atto rn ey ' s Offi ce fo r th e So uth e rn Di stri ct of

    Florida (herein afte r referred to as the ·' United States ..), and Joshua Da vid Nicholas (hereinafter

    referred to as the ''Defendant"'), enter into th e fo ll ow in g plea agreement ("Agreement") :

             I.          The defe nd ant agrees to pl ead g uilty to Cou nt 2 of th e Indictme nt (the

    ·' Indi ctm ent").    Count 2 cha rges the De fendant w ith co nspiring to:         knowingl y and w ill full y

    comb in e. consp ire. and ag ree with others kn own and unkn own to the Grand Jury to commit an

    offense aga in st th e United States, nam e ly, sec uriti es fraud , that is. to kn ow in g ly and willfully use

    and empl oy o ne o r more manipulative and decepti ve dev ices and contrivances contrary to Rul e

     I 0b-5 of the Rules and Reg ulation s of the United States Securities and Exchange Commi ss io n,

    Title 17. Code of Federal Reg ulati o ns. Secti o n 240. 10b-5 , by: (i) employ in g dev ices, sche mes,

    and a rtifi ces to defra ud ; ( ii ) makin g o ne or mo re untru e statem ents of material fact a nd o mittin g to

    state one o r mo re material facts necessa ry in o rd er to make the statements made. in Iig ht of th e

    c ircum sta nces unde r which they were made. not mi s lead in g; and (i ii) engag in g in acts, pract ices,
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 2 of 13




    and courses of business w hich would and did operate as a fraud and deceit upon one or more

     in vestors and potential investors in Emp iresX , in con nect io n with the purchase and sa le of

     in vestm ents in the EX BOT, directly and indirectly, by use of means a nd instrumentalities of

     interstate commerce and the mai ls. in vio latio n of Tit le 15, United States Code, Section s 78j(b)

    and 78ff, and Title 17, Code of Federal Reg ul ation s, Section 240.1 0b-5.

             2.        The United States agrees to di sm iss Count I of the Indi ctment as to this Defe nda nt

    afte r se ntenci ng, and agrees to not brin g any additiona l charges re lated to the Defendant' s

     in vo lvem ent w ith EmpiresX.

             3.        The Defendant is aware that the senten ce will be imposed by the Court.               The

     Defendant unde rstand s and agrees that federa l se nten ci ng law requires the Court to impose a

    sentence that is reaso nab le and that the Co urt must cons id er the United States Sentenci ng

    Guide lines an d Po licy Statements (herei nafter the '·Se ntencin g Guidelines'') in determining that

     reasonabl e sen tence.

             4.        The Defend ant acknowledges and understands that th e Co urt wi ll compute an

    advisory se ntence unde r th e Sentenc in g Guidelines and that the applicable g uid e lines wi ll be

    determined by th e Court relying in pa1t o n the res ults of a presentence in vestigati on by the United

     States Probation Office (.. Probation ''). w hi ch invest igati o n w ill commence after the gu ilty plea has

     been e nte red.

             5.        The Defe ndant is also aware that, und er certain c irc um stances, the Co urt may

    depart from the advisory Sente ncin g Guidelines range th at it has co mputed, and may raise o r lower

    th at adviso ry sente nce und er th e Se ntenc in g Guidelines.     The Defe nd ant is further aware a nd

     und erstan ds that whi le the Co urt is required to consider the advisory g uideline ra nge determined


                                                          2
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 3 of 13




     un de r th e Se nte nci ng Gu ide lines, it is not bo un d to impose that se nte nce.            T he Defe ndant

     un de rstand s that the facts that determin e th e o ffe nse leve l w ill be fo und by th e Cou11 at th e ti me

     of se nte nc in g and that in mak ing th ose determi nati o ns the Court may co nsider a ny re li a ble

     evi dence, in c ludin g hea rsay. as we ll as th e prov is io ns o r stipul ati o ns in thi s Plea Agree ment.

             6.       T he United States and th e Defend ant agree to recomm end th at th e Sentenc in g

     Gu id e lines sho uld appl y pursuant to United States v. Booker, and that, except as oth erw ise

     exp ress ly contempl ated in thi s Plea Agree ment, no upwa rd o r dow nwa rd de partures are

     appropri ate.   T he Co urt is permitted to ta il o r th e ultim ate sente nce in li ght of other statu to ry

     concern s. and such sente nce may be e ither mo re severe o r less severe than the Se ntenc in g

     Guide lines · ad v isory sentence.          Kn ow in g th ese facts, th e Defend ant un de rstand s and

     acknow ledges that the Court has th e auth o rity to im pose any se ntence w ithin and up to th e statuto ry

     max imum auth o ri zed by law fo r th e offe nse identifi ed in paragraph I and th at the Defe nd ant may

     not w ith d raw the plea so le ly as a res ult of th e sentence imposed .

              7.      T he Defe nd ant a lso und erstand s and ackn ow ledges that as to th e offe nse cha rged

     in Co un t 2 of the Indi ctme nt, th e Co u11 may impose a statuto ry max imum term of imprisonment

     of up to five (5) yea rs. In additi on to any peri od of im pri sonm ent, th e Co urt may a lso im pose a

     period of s uperv ised re lease of up to three (3) years to co mm ence at th e conc lu s ion of th e pe ri od

     of impri so nm ent. In add itio n to a term of imprisonm ent and superv ised re lease. the Co urt may

     im pose a fin e of up to th e g reate r of $25 0,000, pursuant to 18 U.S.C. § 3571 (a)(3). o r tw ice th e

     pecu ni ary gai n fro m the offense, pursuant to 18 U .S.C. § 35 71 (d).

              8.      T he Defe nd ant furth er unde rstands a nd ackn ow ledges th at, in additi o n to any

     sentence im posed und er paragraph 3 of th is Ag reement, a spec ia l assessm ent in the tota l amo unt


                                                              3
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 4 of 13




    of$ I 00 w ill be imposed on th e Defe ndant. The Defe nd ant ag rees th at any specia l assessme nt

     imposed shall be pa id at the time of sentenc ing .

            9.       T he Defendant shall prov ide th e Probati o n Offi ce a nd co un se l fo r th e United States

    w ith a full, co mpl ete, a nd accurate perso nal fin anc ia l statement.       If the Defendant provides

    inco mpl ete o r untruthful statem e nts in hi s personal finan c ial statement thi s acti o n shall be deemed

    a material breach of thi s Ag reement and th e United States shall be free to pursue a l I appropriate

    charges aga inst hi s notw ith standin g any agreements to fo rbear fro m brin g in g additi o na l charges

    oth e rwi se set fo rth in thi s Ag reement.

             I 0.    Prov ided that the Defe nd ant co mmits no new criminal offenses a nd prov ided that

    he co ntinu es to de mon strate an affirmative recog niti o n and affi rmati ve acceptance of perso na l

    responsibility fo r hi s criminal conduct, th e United States agrees that it w ill recommend at

    sentencin g that th e Defe ndant receive a three-leve l reduction fo r acceptance of res po nsibility

    pursuant to Secti o n 3E I. I of the Sentencing Guide! ines, based upo n th e Defendant ' s recogniti o n

    and a ffirm ati ve and tim e ly acceptance of personal res po ns ibility. T he United States, howeve r, wi ll

    not be required to make this se nten c in g recomm end ati on if th e Defend ant: ( I) fa il s o r refu ses to

    make a full. acc urate and co mpl ete disclosure to the United States and Probati o n of the

    c ircum sta nces surro undin g th e re leva nt offense conduct and hi s present financial conditi o n; (2) is

    fo und to have mi sreprese nted facts to th e United States prior to entering thi s Pl ea Agreement; o r

    (3) co mmits any mi sco ndu ct after entering into thi s Plea Agreement, in c ludin g but not limited to

    committing a state o r federal offense, v io latin g any te rm of rel ease, o r makin g fal se statements or

    mi srepresentat io ns to any governm enta l entity or officia l.




                                                           4
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 5 of 13




             11.      T he United States reserves th e right to in fo rm the Co urt a nd Probatio n of a ll facts

     pertinent to the sente ncing process, in c ludin g all relevant in fo rm at io n co ncern ing the offenses

     comm itted, whether charged or not, as we ll as concernin g th e Defendant and the Defe nd ant's

     backgro und . S ubj ect o nl y to the express term s of a ny agreed-upon sentencin g recomm end atio ns

     conta in ed in this Plea Agreement, the United States furth e r rese rves th e ri g ht to ma ke a ny

     recommendation as to the qu a Iity and qua ntity of punishment.

             12.      T he United States rese rves the right to make the Defe nd ant 's cooperat io n known to

     the Co urt at the time of sentenc ing.

             13.      Defendant adm its th at the defendan t 1s,         in   fact, guilty of the offense to wh ich

     defendant is agree ing to plead g uil ty. Defe nd ant and th e United States agree to the Statement of

     Facts set fo rth in Exhibit B to thi s Agreement, and ag ree that this State ment of Facts is suffi cie nt

     to support a plea of g uilty to th e charge described in this Agreement and to establish the Se nte nc ing

    Guidelines facto rs set fo rth in paragra ph 14 below but is not meant to be a compl ete recitation of

    a ll facts relevant to the und erly in g c rimin a l co nduct or a ll facts kn ow n to e ith er party that re late to

    that condu ct.

             14.      The United States and the Defe ndant agree that, a lth o ugh not bi ndin g on Probation

    o r the Co urt. they w ill jo intl y reco mm end that the Court make th e following findin gs and

    conc lus io ns as to the applicable Se nte nc in g Guidelines in thi s case:

             (a)      Base Offense Level:        That th e base offense leve l is six (6), pursua nt to Sectio n

                      2B 1. 1(a)(2) of the Sentenc in g Guidelines;

             (b)      Loss: That the defend ant's offe nse leve l sha ll be in creased by twenty-two (22)

                      leve ls pursuant to Sect ion 2B I. I (b)(I )(L) because the va lue of th e loss related to


                                                             5
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 6 of 13




                    the scheme was approx im ate ly $40,600,000.00.              T hi s figure reflects the actua l

                    losses caused to co nsum ers and investors as a result of the Empi resX Ponzi Sc heme;

            (c)     Sophisti cated Means: T hat the Defendant ' s offe nse leve l shall be increased by

                    two (2) leve ls pursuant to Secti on 28. 1(b)( I 0)) because the Defendant used

                    sop hi sti cated means in furtherance of the EmpiresX Ponzi Scheme.

            TOTAL OFFENSE LEVEL - UNADJ USTE D                                                      30

            (d)     Acceptance of Respo nsib ility:            T hat the Defendant"s offense level shall be

                    decreased by three (3) levels pursua nt to U.S.S.G. §§ 3El. l (a) and 3El.l(b)

                    because the Defendant has demonstrated acceptance of responsibility for his

                    offense and ass isted a uth orities in the in vesti gat ion of and prosecution of his own

                    misconduct by t ime ly notify in g auth o riti es of hi s in tenti on to enter a p lea of gui lty.

            TOTAL OFFENSE LEVEL - ADJ USTE D                                                        27

            15.     The Defendant acknow ledges and und erstand s th at additional or different

    enhanceme nts or provisions of the Sentenc in g Guidelines mi g ht be app li cable, and that neither the

    Court nor Probation are bound by th e parties· joint recommendati o ns.

            I 6.    T he Defendant agrees to forfe it to the United States, volu ntari ly and imm ed iate ly,

    all right, title. and interest in a ll property, real or personal , that constitutes or is derived. directly

    or indirectly, from gross proceeds, inc ludin g $3 12,246.00, w hi ch is traceable to the offense of

    conv ictio n. To the extent that such property is no lo nger ava ilable or has been otherw ise dissipated,

    the Defendant agrees that the prerequisites of Title 2 1, United States Code, Section 853(p) have

    been fully satisfied, and the United States may seek the forfeiture of substit ute property. The




                                                           6
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 7 of 13




     Defe nd ant spec ifi ca ll y ag rees to th e entry of a fo rfe iture o rd er fo r a fo rfe iture mo ney judgm ent

    equa l in va lu e to th e tota l gross proceed s traceable to th e offense of conv icti o n.

              17.      T he Defend ant kn ow in g ly and vo luntaril y ag rees to wa ive hi s ri g ht to a hear ing

    purs uant to Fed . R. C rim . P. 32.2 , to determine th e amount o f th e forfe iture mo ney j ud g ment. T he

     Defe nd ant ag rees th at she sha ll not, in any mann er, act in o ppos iti o n to th e U nited States in seek ing

    entry and full sati sfacti o n of th e fo rfe iture mo ney judg ment and th e fo rfe iture of th e spec ifi c

     prope rty ide nti fi ed a bove.

              18.      T he Defend ant know in g ly and vo luntaril y agrees to wa ive th e fo ll ow in g ri g hts w ith

     respect to th e e ntry o f forfe iture ord ers aga in st hi s:

              (a)      A ll co nstituti ona l, lega l. and equitable defenses to s uch fo rfeiture;

              (b)      A ny constituti o nal o r statuto ry do ubl e j eo pardy d efense o r c laim regardin g such

                       fo rfe iture;

              (c)      A ny statute o f limitati ons c laim o r defense to such fo rfe iture;

              (d)      A ny c la im o r defe nse to such fo rfe iture brou ght o r rai sed under th e Eight

                       A me ndm e nt to th e United States Constitutio n, in c ludin g, but not limited to. a ny

                       c la im o r defense of excess ive fin e; and

              (e)      A ny ri g ht he may have to an appeal of any resultin g o rde r o f fo rfe iture .

              19.      T he Defe nd ant a lso ag rees to ass ist th e United States in al l proceedi ngs,

    ad mini strati ve o r j udi c ia l, in vo lv in g fo r fe iture to th e United States of any pro perty, in c ludin g

     substitute pro pe rty, regardl ess o f its nature or fo rm , rea l o r perso na l, w hi c h th e Defe nd ant o r others

     kn o w n to th e Defend ant, have accu mul ated as a res ult o f illega l acti v iti es. T he ass istance s ha ll

     in c lude: id enti fi cati o n of any property s ubj ect to fo rfe iture, agreement to th e entry of an o rd er


                                                                7
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 8 of 13




    enjo inin g the tra nsfer o r encumbran ce of such property, and th e transfer of such prope1ty to th e

     United States by del ivery to this offi ce upo n this office·s request of any necessary an d app ropri ate

    doc umentatio n, inc ludin g co nsents to fo rfe iture and quit c laim deeds, to de li ve r good and

     marketabl e title to such pro perty. In furth e ran ce of the co ll ecti on of th e fo rfeiture mo ney judg ment

    and/o r a restitution judgment, the Defend ant agrees to the fo ll ow in g:

             (a)      T he Defe ndant ag rees to make full and acc urate d isc los ure of hi s fi na ncia l affairs

                      to the United States Atto rn ey's Office and U.S . Probati on Office. Spec ifica ll y, th e

                      Defe ndant agrees that w ithin 15 days from adjudicati o n of g ui It, th e Defendant shall

                      s ubmit a co mpl eted Financial Di sc losure Statement (form prov ided by the United

                      States), an d sha ll fu lly di sclose and id entify all assets in w hic h he has a ny interest

                      and/o r ove r w hi ch th e Defend ant exe rc ises co ntrol , directl y o r indirectl y, in c ludin g

                      th ose held by a spo use, nomin ee, o r oth e r third party. T he Defendant agrees to

                      provide, in a tim e ly mann er, a ll finan c ia l informati o n requ ested by th e United States

                      Atto rn ey ·s O ffice and U.S. Probati on Office, a nd upo n request, to m eet in perso n

                      to identi fy assets/mo ni es whi ch can be used to sati sfy th e forfe iture mo ney

                     judgment and/o r th e restituti o n judgment.          In addition , the Defend ant ex press ly

                      auth o ri zes th e United Sta tes Atto rney's Office to obtain a c redi t report.

             (b)      The Defend ant ag rees th at he wi 11 not se l I, hid e, waste, encumber, destroy, o r

                      oth erwi se deva lu e any asset until th e fo rfe iture mon ey judg ment and hi s restituti o n

                     judg ment are pa id in full w itho ut prio r approval o f th e Gove rnm e nt. T he Defendant

                      s hall a lso ide nti fy any transfe r o f assets va lu ed in excess of $5.000 s in ce th e date

                      of the In dictment fil ed or w hen he became aware of the c rimin a l in vesti gat io n,


                                                              8
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 9 of 13




                in cludin g the identity of the asset, the va lue of th e asset. the identity of the third

                party to w ho m the asset was transferred, and th e cu rrent locati on of the asset.

          (c)   T he Defendant agrees to cooperate fully in the in vestigat io n and the identification

                of assets to be appli ed toward fo rfeiture and/or restituti o n. The Defe nd ant agrees

                th at provid in g fa lse o r in compl ete in fo rm ati o n a bout hi s financia l assets, o r hidin g,

                se llin g, transferrin g or deva luin g assets and/o r fa ilin g to cooperate fully in the

                investi gatio n and identifi cati on of assets may be used as a basi s fo r: ( i) sepa rate

                prosec uti o n, in c luding, under 18 U.S.C. § I 00 I; o r (i i) recomm e nd atio n of a denial

                of a reduction fo r acceptance of respo nsibili ty pursuant to Sente nc in g Guidelines§

                3E I.I .

          (d)   The Defendant furth e r ag rees to liquidate assets, or co mpl ete any ot her tasks w hi ch

                wi ll resul t in imm edi ate pay me nt of the forfeitu re mo ney judgment and/or the

                rest itutio n judg ment in full , o r full payment in the sho rtest a mou nt of tim e, as

                requested by the Government.

          (e)   T he Defe nd ant sha ll not ify. w ithin 30 days, the C lerk of the Co urt and the Un ited

                States Attorney's Office of: ( i) a ny c hange of nam e, residence, or mailing address,

                and ( ii) any m aterial change in economic c ircum sta nces that affects th e ab ili ty to

                pay the forfei ture.

          (f)   Pursuant to 18 U.S.C. § 3663A(c)(2), th e defend ant agrees that an offense li sted in

                Section 3663A( c)( I) gave ri se to thi s Pl ea Agreement and, as suc h, victim s of the

                condu ct described in th e charg in g instrum ent, Statement of Facts. or a ny related o r

                similar co ndu ct shall be entitl ed to restitution in the full amo unt of their losses as


                                                        9
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 10 of 13




                      determined by th e Co urt at sentenc in g. W itho ut li m itin g t he a mo un t of restituti o n

                      th at the Court mu st impose pursuant to statute and thi s Pl ea Ag reeme nt, th e parti es

                      agree th at. at a minimum , restituti o n in th e amo unt of$3 12,246 is wa rranted.

             20.      T he Defe ndant is aware th at th e sentence has not yet bee n dete rmined by th e Co urt.

     The Defe ndant is a lso aware that any estim ate of the pro bable se ntenc in g ra nge or sente nce th at

     th e Defend ant may rece ive, whether th at estim ate co mes fro m the Defend a nt ' s attorn ey, th e United

     States, o r Pro bati o n, is a predi cti o n, not a promi se, and is not binding o n th e United States,

     Pro bati o n or th e Cou11. The Defend ant understand s furth er that any reco mm e nd ati o n th at the

     Un ited States makes to th e Co urt as to se ntenc in g, wheth er pursuant to thi s Ag reement o r

     othe rw ise. is no t binding o n the Co urt a nd th e Court may di sregard th e recomm e nd ati o n in its

     ent irety. T he Defendant und erstand s and ackn owl edges, as prev ious ly ackn owledged in paragraph

     6 above, th at th e Defend ant may not w ithdraw hi s plea based upon the Co urt ' s decisio n not to

     acce pt a sentenc ing recomm endati o n made by th e Defend ant, th e United States, o r a

     recomm e nd ati o n made j o intl y by bo th th e De fe nd ant and th e Unit ed States.

             2 1.     The Defe nd ant is aware th at T itl e 18, United States Code, Sectio n 3742 affo rd s him

     th e ri g ht to appea l th e sentence imposed in thi s case. Acknow ledg in g thi s, in exchange for the

     un dertakin gs made by th e United States in thi s Plea Agree ment, th e Defend ant here by wa ives a ll

     ri g hts co nfe rred by Secti o n 3742 to a ppeal any sentence imposed, inc luding any fo rfe iture o r

     restituti o n o rd ered, o r to appea l th e mann er in whi c h th e sentence was imposed, unl ess th e sente nce

     exceeds th e max imum pe rmitted by statute o r is th e result of an upward departure and/o r a va ri ance

     from th e Sentenc in g Guide lines ran ge that the Court establi shes at sentenc in g. In additi o n to th e

     forego in g prov is io ns, th e Defendant hereby wa ives a l I ri g hts to arg ue o n appea l that the statu te to


                                                            10
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 11 of 13




     w hic h th e Defe nd ant is pl eadin g g uilty is unconstitu tio na l and th at the ad mitted cond uct does not

     fa ll w ithi n th e scope of th e statute.      T he Defend ant furth er und ersta nd s th at nothin g in thi s

     Agree me nt sha ll affect th e ri g ht of the United States and/o r its duty to appea l as set fo rth in T itl e

     18, United States Code, Secti o n 3742(b). However, if th e United States appea ls the Defe nd ant 's

     sentence pursua nt to Sectio n 3742(b), th e Defe nd ant sha ll be re leased fro m the above wa ive r of

     appe ll ate ri g hts. By sign in g thi s Agreement, the De fe nd ant ac kn owledges th at he has di sc ussed

     the appeal wa ive r set forth in thi s Agree me nt w ith hi s atto rn ey. T he Defendant fu rth e r agrees,

     togethe r w ith the United States, to request th at th e Court enter a spec ifi c fi ndin g th at th e

     Defe nd ant' s wa iver o f hi s ri g ht to appeal the sentence to be imposed in thi s case was kn ow in g a nd

     volu ntary.

              22.      For purposes of crimin a l prosecuti o n. thi s Pl ea Ag reement sha ll be binding a nd

     enfo rceab le upo n th e Fraud Secti on of th e Crimina l Di visio n of the United States Depa11ment of

     Ju stice an d the Uni ted States Atto rn ey's Offi ce fo r the So uthe rn Di stri ct of Florida. T he United

     States does not re lease Defend ant fro m any c la im s und er Titl e 26, United States Code. Furth er,

     thi s Agreement in no way li m its, binds, or oth erw ise affects the ri ghts, powe rs or duti es of any

     state o r loca l law enfo rce ment agency or any admini strati ve o r regul atory a uth o ri ty.

              23.      Defe nd ant agrees th at if he fa il s to co mpl y w ith any of th e prov isio ns of thi s

     Agreeme nt, in c lud ing the fa ilure to tend er such Ag ree me nt to th e Co urt, makes fa lse o r mi s lead in g

     statements befo re th e Co urt or to any age nts of th e United States, commits any furt he r c rim es, or

     atte mpts to wi thd raw th e plea (prio r to o r a fter pleadin g g uilty to th e cha rges ide nti fied in parag ra ph

     o ne ( I) above), the Gove rnm e nt w ill have th e ri g ht to cha racte ri ze such co ndu ct as a breac h of thi s

     Agreeme nt. In the event of such a breach: (a) the Governm ent w ill be free fro m its o bli gatio ns


                                                              II
Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 12 of 13




     un der the Ag reement and furth er may take whatever position it believes appropriate as to the

     sentence and the conditi ons of the De fendant' s release (for exampl e, should the Defendant commit

     any conduct after the date of thi s Ag reement that wo uld fo rm the basis fo r an inc rease in the

     Defendant" s offense leve l or j ustify an upwa rd departure - examples of whi ch include but are not

     lim ited to. obstruction of j ustice, fa ilure to appear fo r a court proceedin g. crimin al conduct while

     pending sentencing, and fa lse statements to law enfo rcement agents, the Pro bation Offi cer, or

     Cou rt - the Gove rnment is free under thi s Agreement to seek an increase in the offense leve l based

     on that post-Agreement conduct); (b) th e Defendant will not have the ri ght to withdraw th e guilty

     plea; (c) the Defendant shall be full y subject to criminal prosecution for any other crim es which

     he has commi tted or mi ght commi t, if any, in cluding perjury and obstructi on of j ustice; and (d)

     the Defend ant waives any protections affo rded by Section I BI .8(a) of the Sentencing Guidelines.

     Rule 11 of the Federa l Rules of Crimin al Procedure and Rul e 410 of the Federal Rul es of Ev idence,

     and the Government wi ll be free to use aga in st the Defendant, directl y and in directl y, in any

     crim inal or civil proceed in g any of the in fo rm ation. statements, and materi als prov ided by him

     pursuant to thi s Ag reement, includin g offering into ev idence or otherwise using the attac hed

     Agreed Factual Bas is for Guilty Plea.




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Case 1:22-cr-20296-JEM Document 25 Entered on FLSD Docket 09/08/2022 Page 13 of 13




            24.     This Plea Agreement and Attac hm ents represent the entire Agreement and

     understanding between the Un ited States and the Defendant. There are no other agreements,

     promises, representat ions, or understandings.


                                                 JUAN ANTON IO GONZALEZ
                                                 UN ITE D ST ATES ATTOR EY

                                                 LORINDA I. LARYEA
                                                 ACTI G CH IEF
                                                 U.S . DEPARTMENT OF JUSTICE
                                                 CR IMINAL DIVISION , FRAUD SECTIO



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                                                 SA RA HALLMARK
                                                 KEV IN LOWELL
                                                 TRIAL ATTORNEYS
                                                 U.S. DEPA RTMENT OF JUSTICE
                                                 CR IMINAL DIVISION , FRAUD SECTION

                                                  YISEL VALDES
                                                  ASS ISTANT U.S. ATTORNEY



                                           By:    ~ ~
                                                 ~ SHUA ICHOLAS
                                                  DEFENDANT


     Date<t\5\i2.-
                                                                    UA NIC HOLAS




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